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                     EXHIBIT F
                                                                   AMERICAN                               Rebecca Markovits
                                                                   SHORT FICTION <rebecca.markovits@americanshortfiction.org>
                                                                   Galleys!
                                                                   4 messages
                                                                   Rebecca Markovits                            Fri, Jun 30, 2017
                                                                   <rebecca.markovits@americanshortfiction.org>        at 1:48 PM
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                                                                   To: Sonya Larson <Larsonya@gmail.com>
                                                                    Hi Sonya,
                                                                    Just sending along the galleys to your story. Just a warning that
                                                                    these are immediately post-layout, and haven't been proofed
                                                                    by us or our copy-editor yet-that's happening as I type this--so
                                                                    if there's weird formatting that pops up, don't panic-that
                                                                    happens sometimes in transfer and and we'll catch it!
                                                                    I'm afraid that we're under a major time crunch because of the
                                                                    holiday weekend (our designer is actually off the following
                                                                    week) so we're really hoping to get this done today/tomorrow
                                                                    and off to the printers. So if you want to go over these if you
                                                                    could do it this afternoon that would be terrific. Sorry about the
                                                                    rush! At this stage, we're changing typo-type mistakes only,
                                                                    please--nothing more major and no artistic change of heart, if
                                                                    possible :).
                                                                    Thanks again for all your hard work, and more importantly for
                                                                    giving us beautiful story!
                                                                    Excited for pub-day!
                                                                    Best,
                                                                    Rebecca
                                                                                                                             ASF0553
                                                                    Rebecca Markovits
                                                                    Co-Editor | American Short Fiction
                                                                    P.O. Box 4152 | Austin, TX 78765
                                                                    www.americanshortfiction.org
                                                                    fpi Galleys_Larson.pdf
                                                                     ^ 216K
                                                                   Sonya Larson                          Fri, Jun 30, 2017 at 3:16
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                                                                   <larsonya@gmail.com>                                        PM
                                                                   To: Rebecca Markovits
                                                                   <rebecca.markovits@americanshortfiction.org>
                                                                    Dear Rebecca,
                                                                    All read and all proofed! Thank you; this looks great!! Only 2
                                                                    notes:
                                                                      1. Is it possible to remove the comma in the 1st paragraph
                                                                         after "I was scared"? I personally don't think it's necessary,
                                                                         but keep it if you disagree.
                                                                      2. Is it possible to add a comma on page 58 after "he said," in
                                                                         the sentence, "'You must have a lot to say to each other,"'
                                                                         he said, and jerked on his jacket." It sounds weird not to
                                                                         have it; but again, I defer to you.
                                                                    That is all! Thank you!! Do you know when the pub date is? I
                                                                    shall promote like crazy!!
                                                                    So very excited,
                                                                    Sonya
                                                                    On Fri, Jun 30, 2017 at 2:48 PM, Rebecca Markovits
                                                                    <rebecca.markovits@americanshortfiction.org> wrote:
                                                                                                                              ASF0554
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                                                                                                                                                                                                                 Sonya Larson
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                                                                                             ALAAY4N
                                                                                                                                                   1                                         l                   When I was dying, people were nicer to me. Nurses washed my hair. Old
                                                                V                                                  /' \
                                                                                                                       A              V                                                                          teachers and old roommates and total randoms came to see me, kissing
                                                                                                                   !        J                                                                    -1
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                                                                                                       A.                                          v;                K                       V                   my bandaged hand. Bao brought me underwear and slept besid e me on
                    ...A                          A, I/Va-aa/i A                                   A
                                                                                                                       !,                              i            /\                       '                   a chair. Mom flew from Philly, Dad from North Dakota, and Sui from
                                                      ■> A fiYiA VY <                         - X
                                                  Y NHy? v
                                                                                                                       a w                                          V                                            Xian, all the way across the planet. The flowers! The questions! What
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                            V                A                                        A                V                                                                                     Y                   hurts? How much? I was scared, and they wanted to hear all about it.
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                                                                 /.                                                                                                                      V                       No one said. Why? or How come? or How could you? No one rolled their
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                                                                                                                                                                                                                 eyes or said. Well I’d better get going. They didn’t let me smoke, but I saw
                                                                                                                                                                                                                 them mull it over, as if to say, Well it isn’t going to kill her. They leaned
                                                                                                                                                                                                                 forward. They were riveted. They were hungry and I was their food.
                                                                                                                                                                                                                     Getting born must be like that. If you could remember. But you can’t.
                            A                 y r-rAA--, Y                                             /\                        ..-A—':.. V"                       />
                                                                                                                                                                                                                     Then along came my Angel. A real one, too: no accident of her own,
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                                                                                                             x                                                                                                   no sudden-onset anything. She wasn’t dead, and she wasn’t even doing
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     I                                         ■f \      X                                             if          A                               ...A                      >                                   a chain thing, aimed ultimately at saving her husband or her sister or
                                                                                                                   l i                                             x\ 1
                                                                                                                                                                     1                                           her very best bud.
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                                                                                                                                                                      I                                              It was just that she had two kidneys, and she needed only one. And
          >-                                          X—x_                                                                                                                                                       on top of that, grinned the surgeon: we matched.
                      Amy
                                                                                —■’




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                                                                                                                                      3/            l AaAA A                                                         That night a thin tube dripped cold dreams into my elbow. Bao squeezed
/‘A                                                                                                                                    i
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P.        ,«
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                                                                                                                                                     j              I .!                                         my fingers and kissed the cross around his neck. “It’s happening,” he said.
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                                                                                                                                                   V
                                                                                                                                                   A     /            A                                              It’s happening? 1 tried to speak but my throat felt stuffed with rags.
                                                                                                                                                                                                                 Beyond my eyelids Bao stammered mutely, like a face in a flipbook. I
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                                                       Case 1:19-cv-10203-IT Document 194-6 Filed 12/23/22 Page 5 of 10
          50                                                    AMERICAN SHORT FICTION                    SONYA LARSON                                                                                    51




          hands, overwhelmed like I’ve never seen him. “Bao?” said my voice.                              with moisture.
             “Baby!” He leapt from his chair and wedged his eager arms underneath                             Tree needles, sprayed out and brushing the window in a breeze.
          me, and we were laughing, and the laughter felt strange traveling up my                              More and more the hospital seemed far away: its shiny boxes, relent­
          lungs, like a language I was remembering only now. Even the ceiling                             lessly clean.
          looked new: large tiles sprayed freely with black dots of so many shapes                             From the basement Bao brought up Grandma’s zitan chair. He slid
          and sizes. I could see in them intricate patterns, like constellations in stars.                off the sheet, eased it to the table, smoothed its legs with a damp silver
              Bao looked up too, but his eyes were somewhere else. “How can                               cloth. I lowered myself onto the bony cushion, thumbing the grooves
          we ever thank her?” he said, so joyful he was enraged. “How? How?”                              of dragon tails that curled down the armrests. Suddenly the chair
              The people gathered around me. They shook the surgeon’s hand,                               seemed too big for me, too grand. But that was ridiculous-when
          clinked champagne over my bed. It spilled on the sheet, it spilled on me.                       Grandma was alive she would fart all over this thing. I scooched my
              Night came. The people left. They said. Thank God this was behind us.                       butt, got comfy. Bao folded up the wheelchair. To the curb went the
          They said. It’s time we got some rest. Bao pried my fingers off his arm as                      crutches, the walker, both canes. We could have recycled them or given
          nurses rolled me behind curtains, putting a tube in my hand, with abutton                       them away, but we liked watching the garbage men hurl them into the
          for trouble. Lights went dark, fans slowed to a stop. A janitor wheeled a                       truck, those grimy walls descending to slurp them up for good.
          bucket down a hall. And there was I: blinking fool, alone in my anger just                           Right about then the letter shows up.
          like they always wanted. At 3:13 a.m. I started buzzing on the tube-listening                        Bao was at work. It was a sunny, ignorant day.
          for echoes, for shouts, for footsteps come running. I buzzed and buzzed. I                           It came in the mailbox: real envelope and paper and gold sticker sealing
          jammed it with my thumb. I wanted to know didn’t anybody give a shit.                           the flap. It was wrapped in a second letter from the surgeon, his boxy hand­
                                                                                                          writing rushed with loops offervor. So awestruck was he by the selflessness
                                                                                                          involved that he just had to chaperone the missive himself. I looked at his
                                                                                                          letter. I thought that doctors couldn’t write at all, not even their own names.
          I got better. They brought me home. I learned to angle my wheelchair,                                Then came hers. She had used a notepad shaped like a daisy. Blue gel pen.
          then stand, take a step. Weeks went by-four long months-strength
          creeping into my neck, my arms, my back. Bao whirred loose the screws                           Dear Recipient,
          of the handrails. Little dark holes remained in the walls, damp with
          stray fibers, and when I touched them I remembered where the smooth                             My name is Rose Rothario. I’m a thirty-eight-year-old white female, and
          cold metal had been. I found the Mount Rushmore coffee mug, rolled                              I live in Greater Boston.
          behind the washing machine and miraculously intact. Even my hands                                    In 20171 saw a documentary about altruistic kidney donation, and as
          hardened with muscle. On my pelvis a new scar stretched in a cracked                            the credits rolled Ifelt wholly dismayed by the daily experiences of those
          smile. I poked it when I sat on the toilet, the pain underneath still                           in need. Equipped with this new awareness, I set forth on a journey to
                                                                                                          offer a great gift, to do my part in bettering a fellow human’s life.
ASF0556




          tender. Who’s in there? I thought. Who are you?
              Okay. So we no longer had a car. But Bao didn’t seem angry. Instead                              I shook open the letter. Six whole daisy pages. Stuff about her
          he was grateful, dutiful, the person he used to be. He poured me my Froot                       surgery, the prep, the PT. It went on.
          Loops. He borrowed a bicycle and used that. I was still sleeping on the                              I’m so grateful to theMGH transplant team, who held my hand from
          rollaway, worried that somehow I’d now be bad at sex. But Bao didn’t seem                       my very first blood test to the date ofour paired exchange. I myselfknow
          to mind. Instead he looked at me each day like I was worth something                            something of suffering, but from those experiences I’ve acquired both
          immeasurable. After a while I started getting the hang of that too.                             courage and perseverance. I’ve also learned to appreciate the hardship
               T vH*lai hViimrrc o-mo •varl   'T’Viq       r'tvrxrckc /vF-f-J-io hcnlrckf-hld rirvt+or!   fVirtf n+Vtaro si y/x crr\-i-ncr i-lvmi i crli -nr> msvM-x>-r   fryvoirrn   1lATfofi+o-\tar   t3-\io
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          endured, remember that you are never alone.                                                   “We need to do something,” he said. “We need to show our thanks.”
             A few things about me: I like sailing, camping, jewelry, and cats.                         “Of course,” I said, though that wasn’t what I’d been thinking at all.
             As I prepared to make this donation, I drew strength from knowing                       But all of this gratitude: it shut me up.
          that my recipient would get a second chance at life. I withstood the pain                       There was some debate over who should make the call. “Can you
          by imagining and rejoicing in YOU.                                                         do it?” I said. “Can you say I’m still recovering?”
              I stared at the YOU, underlined three times.                                                Bao frowned and unclicked his helmet. He pulled at the Velcro
              Now I smile at the thought that you are enjoying renewed health. You                   straps on his gloves. Okay: I could see that he didn’t want to. But when I
          deserve all that life has to offer, simply because you exist.                              was dying he’d stopped saying no, and the habit-for now-was sticking.
              If you are willing, I would love to know more about you. Perhaps we                    I saw indecision worming under his face. I let it. Finally he went to the
          could meet. But ifyou prefer not to, I accept that reaction as well.                       kitchen and beeped forcefully at the microwave.
              Warmly,                                                                                     We washed the dishes. We dried them. Then Bao called her up. He
              Rose M. Rothario                                                                       was nervous, chewing rapidly on a wedge of Big Red that I could smell
                                                                                                     from the couch. I could see that he wanted a drink. I hugged my knees,
          There was a photograph. She was tall, slender, a bursting ponytail har­                    bending to suck the wet collar of my sweatshirt.
          nessed to one side. Scissors had cut away the image near her shoulder,                          Bao’s voice twisted to a whole new register, leaping to each sentence
          as if to remove somebody who’d been standing beside her. I held it to                      like he was competing for enthusiasm. “We would love, love, love to have
          my nose, but it just smelled like a photograph: paper and faint glue,                      you,” he said. I held still. Bao never love, love, loved anything. “Her name
          with no whiff of a particular person. She was at some county fair. She                     is Chuntao. That’s Shun, tow-oo. No, no. It would be an honor for us.”
          was around my age. She was standing by a Tilt-A-Whirl, surrounded by                            Arrangements were made. She would come on Thursday. Suddenly the
          blurry feet, holding a rainbow-swirled lollipop in her fist.                               whole house looked barbarically disarrayed-the faded curtains, outdated
              So her name was Rose.                                                                  carpet, objects that made no sense, revealing our vulgarities. That old
              I wanted a cigarette.                                                                  panicky feeling. I imagined her perched on this sagging couch, tanned
              But I didn’t have one. Bao was at work. Sui was in Xian, obviously                     legs too long to fold under the coffee table. It was too late to change the
          asleep. Dad in Bismarck and Mom in Philly, but they had never been                         cabinets, too late to paint the trims. This wasn’t a place where we chummed
          any help at all.                                                                           out with guests. This wasn’t a place where people wanted to hang.
              I hobbled to the kitchen, opened the cupboard. A stupid move-what                           She would come at ll a.m. “What do we get her?” said Bao, shaking
          did I expect? No car and no booze. I looked for the mouthwash, the                         his head. He laughed in choked bursts. “Your other kidney? Your spleen?”
          vanilla extract, that vial of Estee Lauder. But Bao had done a full sweep.                      I wanted to be sick, to hide under the table. I said that I’d better get
              I sat on the couch. I breathed in and out.                                             going-there’s this yoga thing at seven. “That’s great, baby.” Bao smiled,
              At some point Bao came home. I woke to see him scanning the letter                     startled, like someone slapped across the face. “Good for you.” He hurried
ASF0557




          sprayed across the table, wearing red bike shorts circled with sweat.                      his gloves back on. “I’d better get a haircut. And something we can cook.”
          Bao in bike shorts! He looked like no one I knew. Just a stranger pausing                      “Okay,” I said, standing as he left like I was about to put on my shoes.
          to examine a map. He read the whole thing standing up, helmet still                             But I didn’t. Instead I dropped to the couch, scanned my phone. Did
          on. “Wow,” he said, blinking at the wall.                                                  you take your Xyletenol? Mom had written. U ok? said Sui. Where did u
             “I know,” I said.                                                                       go? I ignored them all and played Angry Birds. They weren’t writing to
             “Where did she come from?”                                                              check in. They were writing to check.
             “How should I know?” I said, sounding ugly. But Bao didn’t seem to
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          54                                              AMERICAN SHORT FICTION             SONYA LARSON                                                                 55




          In the morning I went to the basement. Looked for something                        “Can you move your stuff? said Bao. I wiped down the coffee table. I
          sentimental. On some boxes were a wine decanter, a stereo system,                   gathered the crap on the staircase.
          scratched roller blades, ajar ofbatteries. A ceramic Christmas tree that                 I ripped the tags off the jewelry and rummaged for a box. No box. I
          lit up, a velvet painting of John Wayne. An exercise ball with some wind            fetched a Gladware and buried them in there with Kleenex, pretty-like.
          chimes slumped on top. I thought about the wind chimes. They were                   Found an old gift certificate to Olive Garden and put that in too. Wrapped
          nice, I could dust them off. But all these things had to do with me, not            it up-technically Christmas paper, red with snowflakes, but pretty ambig­
          my Angel. She needed something that meant something. Like a pint                    uous, and anyway it was November. No card. What was I supposed to say?
          of my own blood. Nothing worked.                                                         Bao painted some crackers with cream cheese. I warmed potato skins.
               I figured out the bus. I went to Target. And oh my God: the white             “We cooked!” he said, marching the plate to the living room. I watched his
          floor tiles: so shiny! They reflected the fluorescents gleaming overhead,           excitement. I wanted a drink. Instead I went to the fridge and checked
          as if the whole place were lit from under my feet. The shopping cart                on my apple juice. Slipped into my pocket two harmless Slims.
          wheeled over each blip of tile-so smooth. Glossy loops ofblond samples                   At 10:56 a.m. the doorbell went off. Bao almost dropped the plate
          down aisles of hair dye-delightful! I grabbed shampoo, a pack of Slims              in his rush to the door. I stayed behind, neatening things, my fingers
          (oh, sweet aroma through the plastic), and a can of white paint.                    shaking rudely like they belonged to someone else.
               I thought about a card. I went to Thank You and Thank You for Her.                  I heard her voice before I saw her. So much exclaiming, hugging,
          Fanned through the options of embossed sayings. “Life is measured                   everything loud. They came gliding toward me, Bao grinning anxiously
          not by the number of breaths we take, but by the moments that take                  and searching my face. She was even more radiant than the photo.
          our breath away.” Um. Can you say no way? I stuffed them back and                   Slightly older-looking-crinkly eyes, thin hair-but emanating a glow
          went to Accessories. She said she liked jewelry, so.                                that no camera could capture without filters. Out came her arm and her
               I loaded up. I was tearing stuff off the spinning Y-shaped displays.           long, elegant hand, the delicate fingernails, tips creamy white.
          Clinking necklaces and heavy bangles and crystal rings and something                    “Baby?” said Bao. His eyebrows urged me on.
          called a toe clutch. A dozen watches-who wore watches? I had a field day. I             “Hi!” I said. “Hi hi hi. Come in, come in.” I guess I was staring. We
          filled my cart like they do in the movies when a shooter’s on the loose or the      shook. Her hands were cold from being outside. Mine were sweaty, and I
          neighborhood’s on fire, grabbing for my Angel like I never would for myself.        wiped them on my pants, though I worried maybe that would look rude,
               At checkout the glittering pile moved down the conveyor belt. The              like I didn’t want her germs. I watched her shoes, two sculptures of soft
          girl beeped her gun around the stash and said that’ll be $193.80.                   green suede. She was too shiny to look at. It was like squinting at the sun.
               She looked through my face. She wanted to know did I want to put some­             “This,” she said, eyes probing my socks, my sweatshirt, the whole
          thing back. Um, yeah, you think? So I came home with a pendant, the toe             of me, “is incredible.”
          clutch, and two bracelets on clearance. $34.17 total. But nobody would know.            “Right on,” I said. “Sorry. I feel super weird right now.”
              “What in God’s name?” said Bao. He found me kneeling on newspa­                      The lips of Rose Rothario spread in a generous smile. “I can’t believe
ASF0558




          per in the foyer, holding a paintbrush wet with harsh chemicals.                    it either, Chuntao. Am I saying it correctly?” I nodded that she was.
              “Our trims,” I said. “They’re a wreck.”                                         She placed her hand on her chest. She gazed around our house, at our
               Bao breathed through his nostrils. “Baby,” he said. “This isn’t                weird stuff and the carpet slashed with lines from the vacuum cleaner.
          taking it easy.”                                                                         Bao chatted with Rose Rothario, both nodding vigorously. The cre­
              “I know, I know.” I tried getting to my feet, but pain like a snapped           scendo of a siren, of trucks guzzling by: the voice of Rose Rothario rose
          trap unfolded with my body. Bao grabbed my arm. I was dizzy and                     above them all. It was like a singing melody, exuberant and controlled.
          restless. I didn’t know what to do. I didn’t want her here.                         She stepped around our living room. Bao followed, explaining photos
                                                                                              onrl e-Hiff/-vn bVia mon-hal   n T-vt-aevrza r\f ]-itazaar'l-ino +roiliT-»rr in
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          56                                                       AMERICAN SHORT FICTION                  SONYA LARSON                                                                         57




          her wake. I felt like a zoo animal, watching onlookers shuffle to more                               “We’re definitely going to,” said Bao. “We’re going to get into that.”
          interesting exhibits. Suddenly my arms were too long, hair was sticking                              “Not me,” I said, swirling my glass. “I’m still healing. So, yeah.”
          to my face. At least they were moving, killing time.                                                  Bao cleared his throat. Rose Rothario studied me tenderly. “Of course,”
               “Is this a family heirloom?” Rose Rothario lifted her glasses from                           she said. “I found that yoga and gentle stretching were all I could do at first.”
          her nose. She bent to examine the carvings on the zitan chair.                                       “I’ve been thinking about the yoga,” I said. “But I bet I’d be bad.”
              “I guess so,” said Bao, hands folded like a docent. “It’s Chuntao’s.”                            “Maybe Rose could teach you,” said Bao.
              “It’s mine,” I said.                                                                              The woman’s eyes perked up. “Truly?”
              “It’s a stunning relic,” said Rose Rothario, roving her eyes along the                            He nodded and tipped his drink in her direction. “You could go
          back, the armrests, the deflated cushion. A stunning relic? It was a chair.                       together. You could show her the ropes.”
          I imagined Grandma hunched in the seat, raising her furry eyebrows,                                  “I could show you the ropes,” said Rose, turning to smile at me. My
          wondering, Who the hell?                                                                          face must have been doing something, because then she said, “Or. We
               Bao suggested that we sit around the coffee table. “We got some                              could not. Whatever you prefer.”
          snacks,” he said. “Nothing special.”                                                                 “What? What?” Bao gaped at me, hands up in surrender. “I thought
              “Oh my goodness,” said Rose Rothario, admiring the Ritz crackers                              you wanted someone to go with!”
          fanned around the plate. I hated the sight of them: everything the same                               Rose waved everyone off the subject. “It’s really not important.”
          pale color. But Rose didn’t seem to care. She sat, folding her skirt and                          She smoothed her skirt. “It’s okay, Bao.” And I didn’t like her saying
          holding her abdomen on the way down. I wondered if it hurt: the hole                              my husband’s name.
          inside of her. I wondered if she missed it. But I sort of didn’t want to know.                       “Excuse me,” said Bao, and he stood up to make for the bathroom.
               We faced each other, the triangle of us. Nobody ate. Finally I lifted                            I followed him. Inched open the door and slipped myself inside,
          a cracker and put it in my mouth. It tasted like nothing, like water, just                        where Bao was peeing into the toilet. “Are you out of your mind?” he
          cold and crumbs and creamy stuff, mashing around.                                                 hissed in a soft-loud voice.
              “You sure don’t look like you just had surgery,” Bao said to Rose                                 I hissed back. “Yoga with her? Are you crazy? I would rather die.”
          Rothario. I passed around some coasters.                                                             “That’s great,” said Bao, shaking and zipping his pants. “That’s just
              “Thank you. Gosh.” She seemed to grin uncontrollably. “Everyone’s                             what I want to hear.” He scrambled with his buckle and pushed past
          been so supportive. So many cards and flowers. And from people you’d                              me to the sink. “I happen to be thankful,” he said. “The woman saved
          never expect.” I went in for my apple juice. The eyes of Rose Rothario                            my wife. You—you scared the shit out of me. But then she comes along
          snagged on my glass, following my hand as it floated from the table to                            and helps a person in need.”
          my lips. “Is that wine?” she said.                                                                   “So I guess she’s a saint?” I said. “She’s the kindest bitch on the planet?”
               I stopped mid-sip. “No. It’s a Welch’s.”                                                        “Can you just go be with her?” he said, hurrying a towel up his arms.
              “Oh!” she said, bursting into a nervous smile. “Ha ha ha.” She peered                        “Can you just go be a good person?”
                                                                                                               “You go,” I said.
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           at Bao, then at me, then at the hands in her lap.
               We were quiet. I drank my drink. And I tried to remember the things                             “No, you,” he said. And we stood there in the bathroom, panting
           I’ve had to learn: don’t react, don’t react. I tipped back into the cushions,                    and scared of the woman in our house.
           the air fuzzy with shapes and colors. Bao and Rose Rothario discussed                                We exited. In the living room Rose was sitting pin-straight on the
           the neighborhoods of Shelby—which restaurants were nice and which                                couch, waiting just liked we’d left her, like somebody’s dog.
           ones you should skip. They were talking holidays or somebody’s pet                                   Bao squared his eyes on Rose Rothario. He clasped his hands. His
           or the best commute from this place to that. “But this neighborhood                              voice went soft. “Before we let another moment pass. Rose, we just want
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          But I couldn’t say it. His angry face made me want to say nothing at all.                      I felt terrible and wished that she would go. I thought about the ciga­
             “I think I’ll leave you two alone,” he said, rocking on his heels.                          rettes—Fd told Bao I wouldn’t smoke in the house. But he had left, so.
             “What?” I said. Air leapt down my throat. “What for?”                                            Rose Rothario squeezed the hem of her skirt. “Has your recovery
              But he wouldn’t look at me. “You must have a lot to say to each                            been very difficult?”
          other,” he said and jerked on his jacket. On the couch Rose Rothario sat                            I sipped my juice. “Fm not in recovery, if that’s what you’re asking.”
          as still as a statue, her eyes roving between us. In my head I pleaded to                          “What?” she blinked. “Oh. That’s not what I mean. I hope you know
          my husband with every inch of my skin. Don’t. Don’t you dare.                                  that’s not what I mean.”
              But he snapped up his helmet. Rushed his feet into shoes with the ankles                        I could see that she was uncomfortable. So what? I leaned in for a
          smashed flat. And I felt through my heart the spear that would orphan me.                      cracker and put the whole thing in my mouth. “Fm great,” I said. “I can
              The click of the door left a loud and bristling silence. Like the world                    walk up stairs, catch the bus.”
          tipping over. I was in my living room, I was standing on the carpet, a                             “I do find that yoga helps,” she said. “But I still can’t sleep through
          bus rumbling by like it was any old day.                                                       the night.”
                                                                                                             “Me neither,” I said. “I keep getting up to pee.”
                                                                                                             “I can hardly bend over to tie my shoes.”
                                                                                                             “What a bitch,” I said.
          I hurried up and gave Rose her present. She practically squealed in delight,                        Rose Rothario took a cracker and bit off an edge. She chewed in
          there were little tears in her eyes. I sank into the cushions as Rose lifted the               silence. More and more it seemed hard for her to look at me. Her eyes
          pendant-long chain with a copper sunburst—and eased it over her head.                          drifted to the window, to the ceiling, to her free hand in her lap. Finally
          She hid the Gladware in her purse, saying she’d fully relish the rest later.                   she turned my way, her jaw working the cracker, but she looked right
             “It was fun to buy,” I said. “I had to figure out the bus, but that was                     through me, as if to some far-off mountain. Then I realized. She was
          actually totally fine.”                                                                        eyeing my torso. She was thinking about her kidney, buried inside of
              Rose Rothario frowned, leaning forward. “Forgive me, but I was                             me. “Do take care of it,” she said quietly.
          told there was an accident.”                                                                       “You think that I wouldn’t?” I said.
             “Yup,” I said.                                                                                  “No, that’s not what I mean.” She turned away, waving off the
              She bit her worried lip. “That must have been terrifying.”                                 thought. “It’s yours, of course. Never mind. It’s yours now.”
             “You bet,” I said, but the truth was that I couldn’t remember. I just                           “Well, sort of,” I said, feeling bad. “You gave it to me. It’s still sort of
          remembered going for my stash in the basement, the icy vodka in the                            yours.” She squirmed and knocked her knees together. “Hey,” I said,
          Mount Rushmore mug. Washing machine and stray coins vibrating                                  leaning toward her. “Don’t you worry.” Her head lowered, hair shielding
          across. When had I decided to go downtown? How had I even gotten                               her face. “So much is different now. Fm going to treat it so good. Fm
          to the car? It was the logic of a dream. “Trees!” I said, saluting with my                     going to take good care.”
ASF0560




          glass. “They come out of nowhere.”                                                                 “Fm sure,” she said. “Of course.”
             “There was a storm?” She followed along with goony eyes.                                        “Look,” I said, “I have to be honest with you.” I concentrated on
             “Big time,” I lied. I described fierce winds, driving hail, windshield                      the limp hand in her lap. “Fm not really looking for connections right
          wipers that flapped like my hands. I marveled at my voice, making this                          now. Like Fm not really looking to hang out. Don’t get me wrong: I am
          stuff up. It sounded correct. “The dash slammed me all over. They even                         way grateful. Like one hundred percent. But I’ve got too many friends
          took out a rib-it was total smithereens.” I pointed at the torso of Rose                        already. I can barely keep up.”
          Rothario. “Hey, you got any extras in there?”                                                      “Oh, no no no no,” she said. “Fm not interested in friendship.”
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          60                                                        AMERICAN SHORT FICTION                  SONYA LARSON                                                              61




             “I just wanted to meet you,” she said. “I just thought it would be a                           and rubbing my muscles. My wrist bones shifted, accompanying her sad
          meaningful experience.”                                                                           song. I covered them, didn’t look at her. Maybe I’d just wait this one out.
             “It is,” I said. “No doubt.”                                                                        But after a while Rose Rothario quieted. She reached around for the
              I looked up. She was chewing and cupping her palm to catch the crumbs.                        Gladware and fetched some Kleenex, dabbed her eyes. “I’ll tell you what
          My heart pooled with rehef. I’d said what I needed to. Now she could leave.                       I would like. I would love to have a photo with you.” She smiled weakly
               But she didn’t. She kept on munching her cracker like that. What was she                     through her wet face. “That would mean a lot to me. To the people in my life.”
          waiting for? What did she want? “Is there something that you want?” I said.                            I imagined my face immortalized next to Rose Rothario’s. I didn’t
              And that’s when the face of Rose Rothario blotched and crumpled.                              like this move. But if that’s what it took to get her out, to get on. “If it
          Her eyes squeezed up, her hair fell forward. She was crying into her                              means a lot to you,” I said.
          hand. The other hand pinched her bitten cracker, keeping it aloft. “I’m                                She rose. Balled the Kleenex in her fist and looked for the spot that
          sorry,” she said. “It’s all just so much.”                                                        she wanted. I watched her circle the living room, thinking. It’s okay. It’ll
               I didn’t know what was happening. What I thought was: What is this,                          only take a second. She traced her steps around the foyer, the mantel,
          this white woman, crying on my couch? Crying to me. I felt bad for her,                           the photos on the wall. But I knew what she was after. She curled her
          but I also wanted to slap her. Instead I leaned forward and put my hand                           hands on it. My chair.
          on Rose Rothario’s knee. It was warm, shivering, faceted with bone.                                    I hesitated. “You’re not going to post this somewhere, are you?”
               Her mouth contorted with sobs, articulating nothing. But I knew                                  “Do you want me to?”
          what she was thinking. She was thinking it was supposed to be differ­                                 “Never.”
          ent. “I hear you,” I said quietly. “When I was dying, people were nicer.”                             “Then no,” she said. I stood, shuffled over. The black wood gleamed with
               Rose Rothario swallowed. “What-what are you saying?” She was                                 the white lines of lighted grooves. “Do you want to sit in it?” she offered.
          whimpering now, fingers pressed into her eyes like she didn’t want to look.                           “Doesn’t matter,” I said. But then I changed my mind. “Actually, yes.
               I saw my hand and I saw her knee. But they weren’t as sharp as the                           I want to sit in it.” I lowered myself onto the knotty cushion. I rested
          thought in my head. That when I was dying none of it mattered: what I’d                           my elbows. Beside me Rose Rothario crouched down, touching the
          done or what I was. People bared their love and I thought I had my hand s on it.                  armrest for balance.
             “I can’t explain,” I said. “Things were different. But now...”                                     “Careful,” I said.
               Rose Rothario uncovered her shiny, bloated face. Then her fingers                                “Wow—how old is this?”
          fluttered down, and with no warning at all they rested themselves on                                  “Old,” I said. Rose Rothario knelt on the carpet. She smelled like
          my hand. I flinched. Her skin was cold, hovering and weightless, but I                            peach shampoo. There were squiggly grays in her hair and a bumpy
          still could feel the warmth of her, pinning me.                                                    mole behind her ear.
             “Have you told people about me?” she said.                                                           She fussed with her phone, stuck out her arm. I didn’t know where
               I was tense, dutiful, careful not to move. “Of course,” I said.                               to look until she angled it toward me and I saw our faces looking back.
                                                                                                             The photo would be fuzzy, rough with sediments of darkness, but I
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              “And what do they say?” Her eyes glistened, as if from hunger.
               What do they say? Just: eager things, stunned things. Like people                             knew that she would treasure it always. Because the thing about the
          who’d glimpsed promised lands or had been spared by magnificent                                    dying is they command the deepest respect, respect like an under­
          storms. “All the things you’d expect,” I said.                                                     ground river resonant with primordial sounds, the kind of respect that
                Rose Rothario let out a strange, sloppy laugh.                                               people steal from one another.
              “Come on,” I said. “People worship you. That’s pretty clear.”                                     “Ready?” she said. And we peered into her outstretched hand. I saw
                She pinched the bridge of her nose, squinting as if from pain. Then the                      my grandma’s chair. I saw the face of Rose Rothario. I saw that mine
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